               18 U.S.C. 2339C(c) (concealment – defendant’s offense)
Samantha         N.D.       One count 18 USC      78       Concealed and transported
ElHassani        Indiana    2339C(c), no prior    months   $30,000 of gold and cash to
                            history                        Hong Kong over three trips to
                                                           help two men join ISIS.
                                                           Defendant and her children
                                                           ended up in ISIS and Kurdish
                                                           camps.
Sultane Salim    N.D.       One Count 18 USC      60       Defendant and co-defendants
                 Ohio       2339C(c), no prior    months   raised over $20,000 for Anwar
                            history                        Al-Awlaki
  18 U.S.C. 2339B or 2339A (Bashar Al-Assad regime is the only potential
                                victim)
Jasminka         E.D.       One count             36       Defendants sent funds to
Ramic            Missouri   conspiracy 18 USC     months   fighter who had traveled to
4:15-cr-49                  2339B                          Syria to fight Assad and had
                                                           joined ISIS.
Sedina Unkic     E.D.       One count 18 USC      48       Defendants sent funds to
Hodzic           Missouri   2339B                 months   fighter who had traveled to
4:15-cr-49                                                 Syria to fight Assad and had
                                                           joined ISIS.
Mehida Medy      E.D.       Conspiracy 18 USC     78       Defendant’s sent funds to
Salkicevic.      Missouri   2339B                 months   fighter who had traveled to
4:15-cr-49                                                 Syria to fight Assad and had
                                                           joined ISIS.
Ramiz Hodzic E.D.                                 96       Defendant’s sent funds to
4:15-cr-49   Missouri                             months   fighter who had traveled to
                                                           Syria to fight Assad and had
                                                           joined ISIS.
Armin            E.D.       One count           66         Defendant’s sent funds to
Harcevic         Missouri   conspiracy 18 USC months       fighter who had traveled to
4:15-cr-49                  2339B, one count 18            Syria to fight Assad and had
                            USC2339A                       joined ISIS.
        18 U.S.C. 2339B or 2339A (sentences for more serious conduct)
Said Rahim       N.D.       One count             360      Operated social media channel
3:17-cr-00169    Texas      conspiracy 18 USC     months   recruiting fighters for ISIS,
                            2339B, one count of            attempted to travel to join
                            attempt 18 U.S.C.              ISIS, called for attacks. One
                            2339B, six counts              prior conviction.
                            18 USC 1001
Shelton Bell     M.D.       One count             240      Traveled to joint Al-Qaeda
                 Florida    conspiracy 18 USC     months   affiliated terrorist group in
                            2339B, one count               Middle East. Two prior
                                                           convictions.




Case 2:19-cr-00013 Document 425-4 Filed 07/06/22 Page 1 of 2 PageID #: 5416
                         attempt 18 USC
                         2339B.
Shannon         D.       Conspiracy 18     60       Agreed to join ISIS, joined the
Conley,         Colorado U.S.C. § 371,     months   United States Army Explorers
1:14-cr-00163            referencing 18             (USAE) to receive military
                         U.S.C. § 2339B,            training in tactics in firearms
                                                    for helping ISIS. Attempted to
                                                    travel to join ISIS.




Case 2:19-cr-00013 Document 425-4 Filed 07/06/22 Page 2 of 2 PageID #: 5417
